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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 KATHLEEN LEININGER,                                §
                                                    §
                         Plaintiff,                 §
                                                    §
 vs.                                                §                    5:20-cv-1467
                                                        CIVIL ACTION NO. _________
                                                    §
 MARRIOTT INTERNATIONAL INC.,                       §
                                                    §
                         Defendant.                 §

       DEFENDANT MARRIOTT INTERNATIONAL, INC.’S NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. Sections 1331, 1441, and 1446, Defendant Marriott International,

Inc. (“Defendant”) files this Notice of Removal, giving notice that it is removing this civil action

to the United States District Court for the Western District of Texas, San Antonio Division, based

on diversity jurisdiction. In support of this Notice of Removal, Defendant shows as follows:

                                   I. PROCEDURAL BACKGROUND

         On August 18, 2020, Plaintiff Kathleen Leininger (“Plaintiff”) filed this civil action, Cause

No. 2020CI22598, in the 37th Judicial District of Bexar County, Texas, styled Kathleen Leininger

v. Marriott International Inc. See Ex. 1, Plaintiff’s Original Petition. Plaintiff demanded a jury

trial.

         On November 25, 2020, Defendant was served with Plaintiff’s Original Petition. See Ex.

2, Citation and Return of Service. True and correct copies of all process, pleadings, orders served

upon Defendant are attached and incorporated herein by reference as Exhibits 1 through 3.

Defendant is the only party sued and served with Plaintiff’s Original Petition. Therefore, all

Defendants named and served have consented to removal.




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        In this lawsuit, Plaintiff alleges that Defendant violated the Tex. Labor Code Chapter 21,

including §§ 21.051, 21.055. Plaintiff seeks monetary relief in an amount described as “$100,000

or less, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and

attorney fees, as well as non-monetary relief.” See Ex. 1 at 1-2, ¶ 2. Plaintiff expressly “reserves

the right to amend this statement to conform with the evidence.” Id., at 2, ¶ 2.

        On December 21, 2020, Defendant filed its answer in state court. See Ex. 3, Defendant’s

Answer to Plaintiff’s Original Petition. Defendant now removes this action to this Court based on

both diversity and federal question jurisdiction.

                             II. DIVERSITY JURISDICTION IS PROPER

        This Court has diversity jurisdiction over Plaintiff’s state law claim that Defendant violated

the Texas Commission on Human Rights Act (“TCHRA”). Diversity jurisdiction exists in a civil

matter when (1) the amount in controversy exceeds $75,000.00, exclusive of interest and costs,

and (2) the dispute is between citizens of different states. Both requirements are met in this case.

See 28 U.S.C. § 1332.

A.      The Amount in Controversy Exceeds $75,000

        Plaintiff states in her Original Petition that she seeks damages of “$100,000 or less,

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees,

as well as non-monetary relief.” See Ex. 1 at 1-2, ¶ 2. Importantly, Plaintiff expressly “reserves

the right to amend this statement to conform with the evidence.” Id., at 2, ¶ 2. Plaintiff’s express

pleading regarding attorneys’ fees states that she seeks “all reasonable and necessary attorney fees

and costs arising out of or relating to the perpetration and prosecution of this dispute.” See Ex. 1,

at 5, ¶ 21.

        When analyzing the amount in controversy, courts presume that the plaintiff prevails in all



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of her claims. See, e.g., Fields v. Keith, 2000 WL 748152, at *6 (N.D. Tex. 2000). Federal courts

ordinarily determine the amount in controversy based on the specific “good faith” sum demanded

by the plaintiff in her state court petition. See 28 U.S.C. § 1446(c)(2). “[T]he plaintiff’s claim

remains presumptively correct unless the defendant can show by a preponderance of the evidence

that the amount in controversy is greater than the jurisdictional amount.” In re 1994 Exxon Chem.

Fire, 558 F.3d 378, 387 (5th Cir. 2009) (citing De Aguilar v. Boeing Co., 47 F.3d 1404, 1412 (5th

Cir. 1995)). This requirement can be satisfied if the defendant shows that “(1) it is apparent from

the face of the petition that the claims are likely to exceed $75,000, or, alternatively, (2) the

defendant sets forth ‘summary judgment type evidence’ of facts in controversy that support a

finding of the requisite amount.” Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723

(5th Cir. 2002)). If a state statute provides for attorney’s fees, such fees are included as part of the

amount in controversy. Foret v. Southern Farm Bureau Life Ins. Co., 918 F.2d 534, 537 (5th

Cir.1990).

       Once a defendant shows that the amount in controversy more likely than not exceeds the

jurisdictional amount, “the plaintiff must be able to show that, as a matter of law, it is certain that

[the plaintiff] will not be able to recover more than the damages for which [she] has prayed in the

state court complaint.” De Aguilar, 47 F.3d at 1411. The Fifth Circuit has suggested that a plaintiff

may meet this obligation by citing a state law that prohibits recovery of damages in excess of those

sought in the petition. Id. at 1412. Absent such a statute, however, “[l]itigants who want to prevent

removal must file a binding stipulation or affidavit with their complaints[.]” In re Shell Oil Co.,

970 F.2d 355, 356 (7th Cir.1992) (per curiam).

       Defendant respectfully submits that Leininger’s Original Petition makes plain that, if she

prevails, the amount “in controversy” far exceeds $75,000. Initially, her pleading (which is subject



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to amendment), references a maximum of $100,000, which itself demonstrates that more than

$75,000 is in controversy. And, far from stipulating or otherwise binding herself to any ceiling as

to her damages, Leininger instead expressly holds open the right “right to amend this statement [of

maximum damages] to conform with the evidence.” See Ex. 1 at 2, ¶ 2 (emphasis added).

           Leininger further requests “at least” the following elements of damages:

           a.      Law 1 [sic] wages, past and future;
           b.      Mental anguish, and emotional distress suffered in the past [sic]
           c.      Mental anguish, and emotional distress which, in all reasonable probability,
                   will be suffered in the future;
           d.      Punitive Damages [sic]
           e.      Reasonable attorneys’ fees, expert fees, and costs; and
           f.      Based upon the above enumerated damages, the plaintiff pleads for actual
                   damages for the above damage elements in an amount the jury deems
                   reasonable.

See Ex. 1, at 5, ¶ 22(a-f).

           Furthermore, Chapter 21 permits recovery of up to $300,000 in compensatory and punitive

damages, in addition to attorney’s fees. These realities, alone, make clear that more than $75,000

is “in controversy” by virtue of Leininger’s pleadings. Indeed, as the court noted in Decker v.

Fujicolor Processing, Inc., 1998 WL 160038, at *2, fn 5 (N.D. TX 1998), “because [plaintiff’s]

mental anguish, emotional distress, lost earnings capacity, and punitive damages claims potentially

involve a substantial amount of damages, it is possible that any one of those claims could exceed

$75,000.” Id. (citing Allen v. R & H Oil & Gas Company, 63 F.3d 1326, 1336 (5th Cir.1995)

(punitive damages claim made jurisdictional minimum facially apparent); Johnson v. Dillard Dept.

Stores, Inc., 836 F.Supp. 390, 394 (N.D.Tex.1993) (facially apparent that mental anguish and

personal injury claims exceeded the jurisdictional minimum.) (emphasis added).

           The amount in controversy thus exceeds $75,000.00, satisfying the first prong of diversity



1
    Presumably “lost” wages.


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jurisdiction. See 28 U.S.C. § 1332(a).

B.         This Dispute is between Citizens of Different States

           Per her Original Petition, Leininger “lives in Bexar County, Texas.” See Ex. 1 at ¶ 6. She

is therefore a citizen of Texas.

           For the purposes of diversity jurisdiction, a corporation is a citizen of its state of

incorporation and the state in which it has its principal place of business. 28 U.S.C. § 1332(c)(1).

As Leininger correctly points out in her Original Petition, Defendant is a Delaware Corporation.

See Ex. 1 at ¶ 7. Meanwhile, Marriott’s corporate headquarters are located in Bethesda, Maryland, 2

making Defendant a citizen of the States of Delaware and Maryland.

           Because Plaintiff is a citizen of Texas, and Defendant is a citizen of Delaware and

Maryland, this civil action is a matter between citizens of different states, and the parties’

citizenship is diverse within the meaning of 28 U.S.C. § 1332(a)(1).

                                       III. PROCEDURAL ALLEGATIONS

           The Western District of Texas, San Antonio Division is the federal district and division

that embraces the 37th Judicial District of Bexar County, Texas. See 28 U.S.C. § 124(d)(3). This

Notice of Removal is filed within 30 days of Defendant being been served with Plaintiff’s Original

Petition and is therefore timely filed under 28 U.S.C. § 1446(b)(1). See Ex. 2. Accordingly,

removal to this Court is proper pursuant to 28 U.S.C. §§ 1441(a) and 1446.

                                                IV. CONCLUSION

           WHEREFORE, Defendant Marriott International Inc., respectfully requests this action be

removed from the 37th Judicial District of Bexar County, Texas to the United States District Court

for the Western District of Texas, San Antonio Division, and seeks all such other and further relief



2
    See https://marriott.gcs-web.com/corporate-overview, accessed 12/24/2020.


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to which it may be justly entitled.

Dated December 28, 2020                 Respectfully submitted,



                                        /s/ Eric L. Vinson
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                                        ATTORNEYS FOR DEFENDANT




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                                CERTIFICATE OF SERVICE

        On the 28th day of December 2020, I electronically submitted the foregoing document with
the Clerk of the Court using the Electronic Case Filing system of the Court. I hereby certify that
I have served all parties, as follows:

         Via Electronic Case Filing:
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                                             /s/ Eric L. Vinson
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